                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION

                                      NO. 4:12-CR-54-FL-1

 UNITED STATES OF AMERICA,                     )
                                               )
           v.                                  )
                                               )                     ORDER
 NIGEL OMAR GRAY,                              )
                                               )
                        Defendant.             )


       This matter is before the court on defendant’s motions for reduction of sentence pursuant

to the First Step Act of 2018, (DE 87), and for legal assistance with home confinement, (DE 94).

The issues raised are ripe for ruling. For the reasons that follow, the court dismisses without

prejudice the motion for reduction of sentence, denies the motion for legal assistance, and

dismisses without prejudice the motions to the extent defendant is seeking compassionate release

or home confinement.

                                        BACKGROUND

       On June 12, 2012, defendant pleaded guilty to one count of conspiracy to distribute and

possess with intent to distribute one kilogram or more of heroin and 500 grams or more of cocaine,

in violation of 21 U.S.C. § 846. On November 7, 2013, the court sentenced defendant to 131

months’ imprisonment, and five years’ supervised release. Defendant’s projected release date is

June 5, 2021.

       On December 12, 2019, defendant filed the instant motion for reduction of sentence

pursuant to the First Step Act.      The motion effectively requests that the court reconsider

defendant’s sentence based on his post-sentencing conduct. The government did not respond to

the motion.



           Case 4:12-cr-00054-FL Document 95 Filed 04/22/20 Page 1 of 6
       On April 6, 2020, defendant filed the instant motion for legal assistance with home

confinement. Defendant seeks home confinement in light of the COVID-19 pandemic and his

current health issues. As discussed further below, the court will construe this filing as a motion

to appoint counsel. The government also did not respond to this motion.

                                    COURT’S DISCUSSION

A.     First Step Act Motion

       On August 3, 2010, Congress enacted and the President signed into law the Fair Sentencing

Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372. The Fair Sentencing Act increased the

threshold quantity of cocaine base that triggers 21 U.S.C. § 841(b)(1)(A)(iii)’s 10-year to life term

from 50 grams to 280 grams, and the quantity for § 841(b)(1)(B)(iii)’s 5 to 40-year term from 5

grams to 28 grams (but under 280 grams). Fair Sentencing Act § 2, 124 Stat. at 2372. The statute

also eliminated the mandatory minimum sentence for possession of a quantity of cocaine base.

Id. § 3. The Fair Sentencing Act, however, did not apply retroactively to defendants sentenced

before August 3, 2010. See United States v. Black, 737 F.3d 280, 287 (4th Cir. 2013); United

States v. Bullard, 645 F.3d 237, 249 (4th Cir. 2011). The Fair Sentencing Act only applies to

defendants convicted of offenses involving cocaine base. See Black, 737 F.3d at 282.

       The First Step Act of 2018 (“First Step Act”) makes the provisions of the Fair Sentencing

Act described above retroactive. Pub. L. No. 115-391, § 404, 132 Stat. 5194, 5222. Section 404

of the First Step Act provides that “[a] court that imposed a sentence for a covered offense

may . . . impose a reduced sentence as if sections 2 and 3 of the Fair Sentencing Act of

2010 . . . were in effect at the time the covered offense was committed.” Id. § 404(b). The term

“covered offense” means “a violation of a Federal criminal statute, the statutory penalties for which



                                                 2


           Case 4:12-cr-00054-FL Document 95 Filed 04/22/20 Page 2 of 6
were modified by section 2 or 3 of the Fair Sentencing Act . . . that was committed before August

3, 2010.” Id. § 404(a).

        As set forth above, defendant pleaded guilty to conspiracy to distribute one kilogram or

more of heroin and 500 grams or more of powder cocaine. Accordingly, defendant’s offenses of

conviction were not modified by section two or three of the Fair Sentencing Act because they did

not involve distribution of cocaine base. See Fair Sentencing Act §§ 2-3, 124 Stat. at 2372.

Defendant therefore is ineligible for relief under the First Step Act. See § 404(b), 132 Stat. at

5222; see also United States v. Wirsing, 943 F.3d 175, 185-86 (4th Cir. 2019).

B.      Motion to Appoint Counsel

        Defendant also moves for “legal assistance in filing a motion for extra home confinement”

under the “CARES Act of 2020” and “18 U.S.C. § 3582(c)(7)(A).” (DE 94). The provision “18

U.S.C. § 3582(c)(7)” does not exist in the United States Code, but the court assumes defendant is

requesting appointment of counsel to move for compassionate release under 18 U.S.C.

§ 3582(c)(1)(A).1

        There is no general constitutional right to appointed counsel in post-conviction

proceedings. See Pennsylvania v. Finley, 481 U.S. 551, 555 (1987); United States v. Williamson,

706 F.3d 405, 416 (4th Cir. 2013). The court has discretion to appoint counsel in proceedings

under 18 U.S.C. § 3582(c) if the interests of justice so require. See United States v. Legree, 205

F.3d 724, 730 (4th Cir. 2000); see also United States v. Reed, 482 F. App’x 785, 786 (4th Cir.

2012); cf. 18 U.S.C. § 3006A (providing interests of justice standard for appointment of counsel

in similar post-conviction proceedings).


1
         As discussed further below, the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”) does
not provide a mechanism for defendant to seek compassionate release or home confinement in the sentencing court.

                                                       3


            Case 4:12-cr-00054-FL Document 95 Filed 04/22/20 Page 3 of 6
        Defendant in seeking compassionate release due to risks associated with the COVID-19

pandemic, including his chronic health conditions that allegedly place him at greater risk of

complications if he contracts the virus.                Defendant, however, is capable of requesting

compassionate release on this basis without the assistance of counsel, and defendant has not

otherwise established that the interests of justice require appointment of counsel in these

circumstances.       Accordingly, the court denies the motion to the extent defendant seeks

appointment of counsel.

        To the extent defendant seeks compassionate release as a substantive matter, the motion is

premature. The court cannot entertain a motion for compassionate release until defendant has

“fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a

motion [for compassionate release] on the defendant’s behalf or [after] the lapse of 30 days from

receipt of such a request by the warden of the defendant’s facility, whichever is earlier.” 18

U.S.C. § 3582(c)(1)(A). In other words, defendant must first request compassionate release

through the Federal Bureau of Prisons’ (“BOP”) administrative channels before filing a motion

requesting same in this court. Id. In the event the BOP denies the request or fails to respond, he

must either exhaust all administrative appeals or await the lapse of 30 days from receipt of the

request by the warden, whichever occurs first, before presenting the motion to the sentencing court.

Id. The instant motion does not establish defendant has complied with the statutory exhaustion

requirement.2 Thus, the court dismisses without prejudice the motion to the extent defendant




2
        The statutory exhaustion requirement cannot be waived, even to take into account the current pandemic. See
United States v. Raia, __F.3d __, 2020 WL 1647922, at *2 (3d Cir. Apr. 3, 2020); cf. Ross v. Blake, 136 S. Ct. 1850,
1857 (2016) (“[M]andatory exhaustion statutes . . . establish mandatory exhaustion regimes.”).


                                                         4


             Case 4:12-cr-00054-FL Document 95 Filed 04/22/20 Page 4 of 6
seeks compassionate release. Defendant may refile the motion for compassionate release after

complying with the procedures set forth in 18 U.S.C. § 3582(c)(1)(A).

          Defendant also arguably seeks a court order directing the BOP to place him on home

confinement.3 The BOP has exclusive authority to determine defendant’s place of imprisonment,

including home confinement, and the BOP’s placement decisions are “not reviewable by any

court.”     See 18 U.S.C. § 3621(b); see also 18 U.S.C. § 3624(c) (providing the BOP with

discretionary authority to place certain prisoners in home confinement but noting “nothing in

[§ 3624(c)] shall be construed to limit or restrict the authority of the [BOP Director] under section

3621”). As a result, the court is without jurisdiction to order the BOP to place defendant on home

confinement. See United States v. Caudle, 740 F. App’x 364, 365 (4th Cir. 2018).

          As noted, defendant suggests the CARES Act provides legal authority for the court to order

home confinement. In relevant part, the CARES Act provides that “if the Attorney General finds

that emergency conditions will materially affect the functioning of the [BOP], the Director of the

[BOP] may lengthen the maximum amount of time for which the Director is authorized to place a

prisoner in home confinement under the first sentence of [18 U.S.C. § 3624(c)] as the Director

determines appropriate.” CARES Act of 2020, Pub. L. No. 116-136, § 12003(b)(2), 134 Stat.

281, 516. This provision does not authorize the court to order defendant’s placement in home

confinement. Accordingly, defendant must seek home confinement through the BOP’s

administrative system.




3
        On August 8, 2019, the court entered order denying defendant’s motion for judicial recommendation for
placement in community confinement. To the extent defendant is seeking judicial recommendation for home
confinement, the court denies the motion for the reasons stated in that order.

                                                     5


             Case 4:12-cr-00054-FL Document 95 Filed 04/22/20 Page 5 of 6
                                      CONCLUSION

       Based on the foregoing, the court DISMISSES WITHOUT PREJUDICE defendant’s

motion for sentence reduction, (DE 87). Defendant’s motion for legal assistance with home

confinement, (DE 94), construed as a motion to appoint counsel, is DENIED. To the extent

defendant’s motion, (DE 94), seeks compassionate release or home confinement as a substantive

matter, the motion is DISMISSED WITHOUT PREJUDICE.

       SO ORDERED, this the 22nd day of April, 2020.


                                          _____________________________
                                          LOUISE W. FLANAGAN
                                          United States District Judge




                                             6


          Case 4:12-cr-00054-FL Document 95 Filed 04/22/20 Page 6 of 6
